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                                    UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF TEXAS


In     Michelle Connely
Re:    Debtor                                            Case No.: 16−80356                                      ENTERED
                                                         Chapter: 13                                             07/09/2017




                              ORDER CONFIRMING CHAPTER 13 PLAN
                        AND VALUING COLLATERAL PURSUANT TO 11 U.S.C. §506


      1. The Court has considered confirmation of the debtor(s)' chapter 13 plan that was proposed on 6/13/17.


      2. All objections to the plan have been withdrawn or overruled.


      3. The Court has determined that the plan meets all of the requirements of §1325 of the Bankruptcy Code.


      4. Notwithstanding any estimate of the amount of a general or priority unsecured claim contained in the plan or
         in an order of the Court, the actual amount payable on priority claims will be the Allowed Amount of the
         priority claim and the actual pro−ration for distribution on general unsecured claims will be based on actual
         Allowed Amounts of general unsecured claims.


      5. The value of the collateral for secured claims is in the amount set forth in the plan.


      6. The plan is confirmed.




Signed and Entered on Docket: 7/9/17
